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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                             NORTHERN DIVISION


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES,
AFL-CIO, et al.,

                  Plaintiffs,

                     vs.                               Civil Action No. 1:25-cv-00596

SOCIAL SECURITY ADMINISTRATION,
et al.,

                Defendants.




                                       [PROPOSED]
                                         ORDER

     Upon consideration of the Motion to Withdraw as Counsel, it is on this ____ day of March,

 2025,

     ORDERED that the Motion to Withdraw be GRANTED; and it is further ORDERED that

 Karianne Melissa Jones be withdrawn as counsel for Plaintiffs American Federation of State,

 County and Municipal Employees, AFL-CIO, Alliance for Retired Americans, and American

 Federation of Teachers.



                                              ____________________________
                                              Hon. Ellen Lipton Hollander
                                              U.S. District Judge
